                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:12–cv-228-FDW
                               (3:05-cr-400-FDW-12)

MICHAEL ROBERT KEARNS,              )
                                    )
            Petitioner,             )
                                    )
                v.                  )                              ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the Court on consideration of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255. (Doc. No. 1). For the reasons

that follow, Petitioner’s Section 2255 motion will be dismissed.

                                     I.   BACKGROUND

       On October 25, 2007, Petitioner entered into a plea agreement with the Government

wherein he agreed to plead guilty to Counts One, Two and Forty-Four of his Indictment. In

return, the Government agreed to dismiss the remaining charges against Petitioner. Count One

charged Petitioner with conspiracy to defraud the United States, in violation of 18 U.S.C. §§ 371

& 2326. Count Two Charge Petitioner with wire fraud and aiding and abetting the same, in

violation of 18 U.S.C. §§ 1343 & 2, and 18 U.S.C. § 2326. Count Forty-Four charged Petitioner

with conspiracy to commit money laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(I) &

1956(h). (3:05-cr-400, Doc. No. 174).

       Petitioner appeared with counsel before U.S. Magistrate Judge David Kessler for his Plea

and Rule 11 hearing, and his pleas of guilty were accepted after a thorough colloquy. (Doc. No.


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176: Acceptance and Entry of Guilty Plea). On June 12, 2009, Petitioner appeared with counsel

before the Court for his sentencing hearing. After finding that there was a factual basis to support

Petitioner’s guilty pleas, the Court accepted the pleas and entered a judgment of conviction on

each count and sentenced Petitioner to 108-month’s imprisonment on each count with such

sentences to run concurrently. (Doc. No. 330: Judgment in a Criminal Case at 1-2). Petitioner did

not file a direct appeal from this criminal judgment.

       On February 3, 2011, Petitioner filed a pro se motion. Petitioner labeled this effort as an

“Omnibus Motion” to vacate his criminal judgment pursuant to Rule 36 of the Federal Rules of

Criminal Procedure and Rule 60(b) of the Federal Rules of Civil Procedure. (Doc. No. 382). The

Government responded in opposition to Petitioner’s motions for relief. First, the Government

noted that Rule 36 was inapplicable to Petitioner’s substantive attack on his criminal judgment as

Rule 36 was designated for the correction of clerical errors in a judgment, and Rule 60(b) was

inapplicable to the attack on a criminal judgment in a criminal case. The Government asserted

that Petitioner could only attack his criminal judgment, if at all, through a petition under 28

U.S.C. § 2255. Next, the Government noted Petitioner’s express agreements in his plea

agreement regarding the number of victims defrauded through Petitioner’s participation in the

fraudulent telemarketing scheme, and the amount of restitution for which Petitioner agreed to be

responsible. Last, the Government pointed to the provision in Petitioner’s plea agreement

wherein he agreed not to challenge his criminal judgment except through a Section 2255 for

allegations of prosecutorial misconduct and/or ineffective assistance of counsel. (Doc. No. 384).

       On April 3, 2011, the Court entered an Order denying Petitioner’s Omnibus Motion after

concluding that Petitioner had waived his right to contest his criminal judgment through entry



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into his plea agreement with the Government. The Court observed that Petitioner’s plea

agreement expressly provided that Petitioner had waived his right to challenge his criminal

judgment for any reason, save on grounds of ineffective assistance of counsel and/or

prosecutorial misconduct. Petitioner did not file a direct appeal from this Order. Rather, on or

about May 11, 2011, Petitioner filed a petition for a writ of mandamus with the United States

Court of Appeals for the Fourth Circuit contending that the Court had unduly delayed in ruling

on his Omnibus Motion. (Doc. No. 392). The Fourth Circuit denied his petition for mandamus

relief after noting that the Court had, in fact, entered its Order on April 3, 2011. (Doc. No. 394).

       On April 13, 2012, Petitioner renewed his attack on his criminal judgment, this time

filing the present Section 2255 motion. (3:12-cv-228, Doc. No. 1). Petitioner, while clearly

recognizing the late nature of his filing, maintains that he is actually innocent and his claims

should be heard despite his failure to timely file his Section 2255 motion within one year from

the date his criminal judgment became final. The Government has responded to Petitioner’s

Section 2255 motion by moving to dismiss this action. The Government raises the affirmative

defense of failure to file within one-year of the date his criminal judgment became final, and

arguing that Petitioner cannot meet the stringent requirements to support equitably tolling the

statute of limitation. Last, the Government relies upon Petitioner’s waiver to collaterally attack

his criminal judgment as detailed in his plea agreement. (Doc. No. 4).

                                 II. STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any



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relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

                                        III. DISCUSSION

       Petitioner contends that his conviction was “affirmed by the Circuit Court.” (3:12-cv-228.

Doc. No. 1 at 3). However, a review of the criminal docket demonstrates that this assertion is

erroneous. Absent a direct appeal, Petitioner’s criminal judgment became final in June 2009.

Petitioner’s Section 2255 motion was filed nearly three years after his judgment became final.

See United States v. Sanders, 247 F.3d 139, 142 (4th Cir. 2001) (noting that a conviction

becomes final on the date the court entered judgment in the absence of a direct appeal).

       The Government has expressly pled the one-year statute of limitations in support of

dismissal, and argues that Petitioner cannot meet the rigorous standard to support a finding of

equitable tolling. Further, the Government asserts the waiver of any collateral attack on his

criminal judgment, except for claims of ineffective assistance of counsel and/or prosecutorial

misconduct. (Doc. No. 4).

       On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(the “AEDPA”). Under the AEDPA, there is a one-year statute of limitations for filing a motion

for collateral relief. Section 2255(f) provides:

       (f)     A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of—

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the United States
               is removed, if the movant was prevented from making a motion by such


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               governmental action;

               (3) the date on which the right asserted was initially recognized by the Supreme
               Court, if that right has been newly recognized by the Supreme Court and made
               retroactively applicable to cases on collateral review; or

               (4) the date on which the facts supporting the claim or claims presented could
               have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

       In his criminal case, this Court concluded that absent a genuine argument for

prosecutorial misconduct or ineffective assistance of counsel, Petitioner had indeed waived his

ability to challenge his criminal judgment through his knowing and voluntary entry into the plea

agreement with the Government. In the present action, Petitioner is keenly aware that his Section

2255 motion was filed well outside the one-year statute of limitation in § 2255(f). Petitioner

maintains, however, that the Court should reach the merits of his Section 2255 because he is

actually innocent. As Petitioner reckons, “[i]n other words, a successful free-standing claim of

actual innocence not only avoids a procedural bar, but renders any procedural bar irrelevant.”

(Doc. No. 1 at 6-7). The Court finds that Petitioner’s solemn statements under oath during his

Plea and Rule 11 hearing foreclose his present argument of actual innocence. See, e.g., United v.

Lambey, 974 F.2d 1389, 1394 (4th Cir. 1992) (finding that once a plea of guilty is entered, there

is “a strong presumption that the plea is final and binding.”); United States v. Lemaster, 403 F.3d

216, 221 (4th Cir. 2005) (“A defendant’s solemn declarations in open court affirming a plea

agreement carry a strong presumption of verity because courts must be able to rely on the

defendant’s statements made under oath during a properly conducted Rule 11 colloquy.”).

       The principle virtue of a properly administered Plea and Rule 11 hearing is finality for all

concerned: the Government, the Court, the public, and the defendant. The Court examined


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Petitioner during his sentencing hearing and Petitioner verified his presence at the Plea and Rule

11 hearing; that he was under oath; and that all of his answers to Judge Kessler’s questions were

true and correct. Moreover, Petitioner confirmed that if the Court asked each question from his

colloquy again during his sentencing hearing he would answer the questions the same way.

Petitioner also confirmed that he signed the Acceptance and Entry of Plea form, and his trial

counsel informed the Court that he believed that Petitioner understood each of Judge Kessler’s

questions during the plea colloquy. Finally, Petitioner admitted to the Court that he was in fact

guilty of the three counts to which he pled guilty before Judge Kessler on October 25, 2007.

Following this exchange, the Court was satisfied, as it is today, that Petitioner entered a knowing

and voluntary plea of guilty to Counts One, Two, and Forty-Four of his Indictment. See (3:05-cr-

400, Doc. No. 333: Sentencing Transcript at 2-4).

       Petitioner’s late assertion of innocence, an assertion made some four and a half years

after the entry of his guilty pleas under oath before Judge Kessler, and nearly three years after his

criminal judgment became final, is simply not supported by the evidence. That is, the evidence of

his guilty plea given under oath, and his reaffirmation of the knowing and voluntary nature of his

pleas of guilty before this Court during his sentencing hearing. Accordingly, the Court finds that

Respondent’s motion to dismiss Petitioner’s Section 2255 motion should be granted as

Petitioner’s sworn statements during his Rule 11 hearing outweigh his late assertion of

innocence. The Court finds that Petitioner has failed to make any case to support equitable

tolling, much less a credible case of actual innocence.




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                                         IV. CONCLUSION

        IT IS, THEREFORE, ORDERED that:

        1.      Respondent’s Motion to Dismiss Petitioner’s Section 2255 motion is

GRANTED. (3:12-cv-228, Doc. No. 4).

        2.      Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. §

2255 is DISMISSED as untimely. (Doc. No. 1).

        3.      Petitioner’s Motion for Extension of Time to File a Response or Reply regarding

his Motion to Vacate is DENIED. (3:05-CR-400, Doc. No. 389).

        4.      Petitioner’s Motion for Extension of Time to File a Response for his Request for

Transcripts is DENIED. (3:05-CR-400, Doc. No. 390).

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

                                                        Signed: December 21, 2012




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